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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                §
SUZANNE COWAN,                                  §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §     Civil Action No. 4:17-cv-00437-O-BP
                                                §
SENTRY INSURANCE A MUTUAL                       §
COMPANY,                                        §
                                                §
       Defendant.                               §
                                                §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a recommendation

in this case. No objections were filed, and the Magistrate Judge’s recommendation is ripe for

review. The District Judge reviewed the proposed findings, conclusions, and recommendation for

plain error. Finding none, the undersigned District Judge is of the opinion that the Findings and

Conclusions of the Magistrate Judge are correct and they are accepted as the Findings and

Conclusions of the Court.

       Accordingly, it is ORDERED that Defendant’s Motion to Abate Lawsuit (ECF No. 4) is

GRANTED. This case is abated until such time as Cowan submits to an examination under oath,

Cowan provides the documents requested by Sentry’s counsel, and the parties complete the

appraisal process provided for in the insurance policy. The parties shall file a joint status report

every sixty (60) days informing the Court of the status of the completion of these requirements.

       The Clerk of the Court is DIRECTED to close this case for statistical purposes.

       SO ORDERED on this 4th day of August, 2017.

                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
